Case 2:19-cr-20425-BAF-APP ECF No. 156, PageID.935 Filed 04/09/23 Page 1 of 9




                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


  United States of America,

              Plaintiff,
  v.                                          Case No. 19–cr–20425

                                              HON. BERNARD A. FRIEDMAN
  Mario Keeream Jackson,

             Defendant.
   ___________________________________________________________

            Defendant’s Motion in Limine to Compel Discovery

    Defendant moves this Honorable Court to order the government to

  produce Defendant’s cell phone data and related reports requested by the

  defense under Fed. R. Crim. P. 16(a)(1).

        Respectfully submitted,

        /s/ Mark H. Magidson
        MARK H. MAGIDSON (P25581)
        Attorney for Defendant
        The David Whitney Bldg
        One Park Avenue, Suite 1207
        Detroit, MI 48226
        (313) 963-4311
        mmag100@aol.com


        Dated: April 9, 2023




                                                                     Page 1 of 9
Case 2:19-cr-20425-BAF-APP ECF No. 156, PageID.936 Filed 04/09/23 Page 2 of 9




                     Certificate Regarding Concurrence


        I certify and affirm, in compliance with E.D. Mich. LR 7.1(a)(2)(A),

  that there was a conference between the attorneys of record in which the

  movant explained the nature of the motion or request and its legal basis and

  requested but did not obtain concurrence in the relief sought,


  /s/ Mark H. Magidson
  MARK H. MAGIDSON (P25581)
  Attorney for Defendant




                                                                      Page 2 of 9
Case 2:19-cr-20425-BAF-APP ECF No. 156, PageID.937 Filed 04/09/23 Page 3 of 9




                           Brief in Support of
            Defendant’s Motion in Limine to Compel Discovery


                                        Facts

        Defendant Jackson is charged with a 12-count indictment alleging five

  crimes of violence in violation of the Hobbs Act, five counts of using a

  firearm “during and in relation to a crime of violence,” being a felon in

  possession of a firearm, as well as other allegations. (Ind., ECF No. 1,

  PageID.1–7).

        The Indictment alleges that Jackson robbed or attempted to rob five

  different Walgreens stores from about November 2018 until March 2019.

  Each incident involves surveillance video and multiple res gestae witnesses

  from each Walgreens store.

        In addition, this case involves the government’s investigation of cell

  phone tower data to attempt to identify Jackson. The government has

  provided defense counsel with notice of its intent to call at trial its cellular

  telephone communications records expert, FBI Special Agent George F.

  Rienerth, II. Rienerth is expected to testify about cellular tower data

  involving Jackson’s phone number during the robberies (with location data)

  and the interaction between Jackson and other person’s numbers.




                                                                            Page 3 of 9
Case 2:19-cr-20425-BAF-APP ECF No. 156, PageID.938 Filed 04/09/23 Page 4 of 9




        The government has transcripts and recordings of phone calls from

  inmates in the Michigan Department of Corrections, Melvin Taylor and

  Anthony Street, who made calls to Jackson. The transcripts of some of the

  calls identified by the government have been provided to the defense;

  however, the government has not provided any reports or explanation of

  how or why those call records were produced by Heather Stevens, a State of

  Michigan Hearing Specialist for the Michigan Department of Corrections.

        Also, the government sought and obtained a search warrant for

  Jackson’s cell phone location data. In the Affidavit to support issuance of

  the warrant, the government states that

        FBI systems also revealed that [Jackson’s cell phone] was in contact
        with another cellular device that is being used by the subject of a
        current FBI/OCGVCTF investigation relating to the sale of firearms
        by a convicted felon. Approximately 18 contacts occurred between
        September 10, 2018 and October 15, 2018, the timeframe of which is
        approximately one month prior to the first robbery. [Unredacted
        Affidavit, ¶ 16, pp. 13–14.]


        The recordings, transcripts, and FBI for FD-302 reports of those calls

  have not been provided to the defense. Defense counsel made the following

  discovery request to the government:

        1)   On April 19, 2019 TFO Kinal received 8 jail calls made by
        MDOC inmates to the “target Number” which was Jackson. Are there
        any 302’s or other reports of any kind which led Kinal to request or
        be provided these calls from Heather Stevens. (See Bates 00324)


                                                                        Page 4 of 9
Case 2:19-cr-20425-BAF-APP ECF No. 156, PageID.939 Filed 04/09/23 Page 5 of 9




        2)     In the April 24, 2019 Affidavit in Support of a Search Warrant
        of Christopher McClain, he notes that “FBI systems also revealed that
        the Target Cellular Device was in contact with another cellular device
        that is being used by the subject of a current FBI/OCGVCTF
        investigation relating to the sale of firearms by a convicted felon.”
        (Bates 00272) It is further noted there were 18 contacts between
        9/10/18 and 10/15/18. With respect to these allegations:

              a)    Was there a search warrant (and Affidavit) of any kind
              regarding that investigation, and if so, please provide the same;

              b)     Are there any 302’s or any reports of any kind or nature
              relating to those 18 contacts with the target device, and if so
              please produce those

              c)    Are there any recordings of those 18 contacts, and if so,
              please produce those;

              d)    Are there any summaries of those 18 contacts, and if so,
              please produce those;

              e)    Are there any of the 18 contacts minimized and if so
              please produce those or the 302’s reflecting that.

        3)      In paragraph 15 of McClain’s Affidavit (Bates 00272) he states
        that “Affiant and other law enforcement agents received the records
        from multiple cellular providers and learned that on 12/29/18” the
        target device was at cell towers near the robberies. Regarding that
        assertion, are there any 302’s or any reports of any kind that describe
        that finding, and if so, please provide the same. [Exhibit A – Email,
        4/4/23.]


        The government refused that request, stating

        1. No, there are no additional reports.
        2. This was not material to the investigation and is not part of this
        prosecution. I don’t know that any of those records exist, and if they


                                                                        Page 5 of 9
Case 2:19-cr-20425-BAF-APP ECF No. 156, PageID.940 Filed 04/09/23 Page 6 of 9




        do, we have not reviewed them. We will not be producing 302s/SWs
        from a separate case.
        3. The CAST report. [Ex. A.]



                                   Argument

        The Federal Rules of Criminal Procedure provide for mandatory

  disclosure by the government:

        (B) Upon a defendant's request, the government must disclose to the
        defendant, and make available for inspection, copying, or
        photographing, all of the following:

              (i) any relevant written or recorded statement by the defendant
              if:
                     • the statement is within the government's possession,
                     custody, or control; and

                     • the attorney for the government knows--or through due
                     diligence could know--that the statement exists.

              [Fed. R. Crim. P. 16(1)(B)(i).]


        In this case, the items requested by the defense are reports or records

  of Defendant Jackson’s statements and cell phone calls made to other

  subjects the government was investigating. They are in the government’s

  possession or control, and the government knows they exist.

        In the Affidavit supporting a search warrant for Jackson’s cell phone

  data, the government admits that it discovered Jackson’s cell phone number



                                                                        Page 6 of 9
Case 2:19-cr-20425-BAF-APP ECF No. 156, PageID.941 Filed 04/09/23 Page 7 of 9




  through FBI systems that showed Jackson’s cell phone was “in contact with

  another cellular device that was being used by the subject of a current

  FBI/OCGVCTF investigation relating to the sale of firearms by a convicted

  felon.” (Unredacted Affidavit, ¶ 16, pp. 13–14). “Approximately 18 contacts

  occurred between September 10, 2018 and October 15, 2018, the timeframe

  of which is approximately one month prior to the first robbery.” Id.

        Defendant’s statements made during those calls, cellular data about

  those calls, and the FBI FD-302 reports about those calls are relevant to this

  case and discoverable by the defense.

        In addition, if the government had obtained Jackson’s cell phone

  conversations and information by using a wiretap warrant for the other

  individuals it was investigating, then Jackson has standing to challenge those

  wiretap warrants, and he would be entitled to the affidavits supporting those

  warrants. At trial, “any aggrieved person … may move to suppress the

  contents of any wire or oral communication intercepted … on the grounds

  that: (i) the communication was unlawfully intercepted; (ii) the order of

  authorization or approval under which it was intercepted is insufficient on

  its face; or (iii) the interception was not made in conformity with the order

  of authorization or approval.” 18 U.S.C. § 2518(10)(a).




                                                                         Page 7 of 9
Case 2:19-cr-20425-BAF-APP ECF No. 156, PageID.942 Filed 04/09/23 Page 8 of 9




        Even if the government does not intend to rely on the cell phone

  conversations and cellular data obtained via wiretap (assuming it was), then

  Jackson may move to suppress on the basis that the way they obtained his

  information was in violation of the Fourth Amendment, and therefore, the

  additional information the government is using in this case should be

  suppressed as fruit of the poisonous tree. United States v. Calandra, 414 U.S.

  338, 347, 94 S.Ct. 613, 38 L.Ed.2d 561 (1974) (citing Wong Sun v. United

  States, 371 U.S. 471 (1963)).



        WHEREFORE, Defendant Jackson moves this Honorable Court to

  order the government to produce all reports, transcripts, and recordings

  related to Defendant Jackson’s cell phone conversations, cell phone use,

  data, and location information while he was communicating with any other

  persons investigated by the government or state law enforcement; in

  addition, any wiretap evidence and affidavits in support of warrants where

  Jackson’s calls were intercepted while in contact with another cellular device

  that was being used by the subject of a FBI/OCGVCTF investigation

  relating to the sale of firearms by a convicted felon.




                                                                          Page 8 of 9
Case 2:19-cr-20425-BAF-APP ECF No. 156, PageID.943 Filed 04/09/23 Page 9 of 9




        Respectfully submitted,

        /s/ Mark H. Magidson
        MARK H. MAGIDSON (P25581)
        Attorney for Defendant
        The David Whitney Bldg
        One Park Avenue, Suite 1207
        Detroit, MI 48226
        (313) 963-4311
        Fax: (313) 995-9146
        mmag100@aol.com


        Dated: April 9, 2023




                               Certificate of Service

        I certify that on April 9, 2023, I electronically filed the above Motion
  with the Clerk of the Court using the CM/ECF system, which served the
  filing to the parties of record.

  /s/ Mark H. Magidson
  MARK H. MAGIDSON (P25581)
  Attorney for Defendant




                                                                          Page 9 of 9
